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 1   HEATHER E. WILLIAMS, CA SBN #122664
     Federal Defender
 2   ERIN SNIDER, OR SBN #116342
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 6   Attorney for Defendant
     VIVIAN MARIE WILLIAMS
 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                   )
                                                  )   Case No. 1:15-cr-00028-AWI-BAM
12                     Plaintiff,                 )
                                                  )   STIPULATION TO CONTINUE STATUS
13    vs.                                         )   CONFERENCE TO 8/31/2015; ORDER
                                                  )
14    VIVIAN MARIE WILLIAMS,                      )   Date: August 31, 2015
                                                  )   Time: 1:00 p.m.
15                     Defendant.                 )   Judge: Hon. Barbara A. McAuliffe
                                                  )
16                                                )

17          IT IS HEREBY STIPULATED by and between the parties through their respective
18   counsel, Assistant United States Attorney Mark Joseph McKeon, counsel for the plaintiff, and
19   Assistant Federal Defender Erin Snider, counsel for defendant Vivian Marie Williams, that the

20   status conference currently set for July 27, 2015, be continued to August 31, 2015, at 1:00 p.m.
21          The continuance is requested to allow time for the ongoing review of initial discovery,
22   which totals 13,000 pages. The requested continuance is with the intention of conserving time
23   and resources for both the parties and the Court.
24          The parties agree that the delay resulting from the continuance shall be excluded in the
25   interests of justice, including but not limited to, the need for the period of time set forth herein

26   for effective defense preparation, pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i)
27   and (iv).
28   ///
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 1                                                Respectfully submitted,

 2                                                BENJAMIN B. WAGNER
                                                  United States Attorney
 3
 4   Date: July 22, 2015                          /s/ Mark Joseph McKeon
                                                  MARK JOSEPH MCKEON
 5                                                Assistant United States Attorney
                                                  Attorneys for Plaintiff
 6
 7                                                HEATHER E. WILLIAMS
                                                  Federal Defender
 8
 9   Date: July 22, 2015                          /s/ Erin Snider
                                                  ERIN SNIDER
10                                                Assistant Federal Defender
                                                  Attorney for Defendant
11                                                VIVIAN MARIE WILLIAMS

12
13                                               ORDER

14                      IT IS SO ORDERED. The parties were advised August 31, 2015 is not a

15   1:00PM calendar for Judge McAuliffe. The parties via email agreed to calendar this hearing to

16   August 24, 2015 at 1:00PM instead. For the reasons set forth, the 1st Status Conference is

17   continued from July 27, 2015, to August 24, 2015 at 1:00 PM before Judge McAuliffe. Time is

18   excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).

19   IT IS SO ORDERED.

20   Dated:      July 23, 2015                      /s/ Barbara A. McAuliffe
                                             UNITED STATES MAGISTRATE JUDGE
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      fggfff / Stipulation
      Williams                                       -2-
